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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


WILLIAM ALEXANDER,

                                 Petitioner,
                                                     21 Civ. 1006
                                                             ____ (___)
                 – against –
                                                      PETITIONER’S
RAYMOND COVENY,
                                                        APPENDIX
Superintendent of Elmira
                                                     IN SUPPORT OF
Correctional Facility, and
                                                      PETITION FOR
LETITIA JAMES, New York
                                                    HABEAS CORPUS
State Attorney General,

                               Respondents.




                                                        JANET E. SABEL
                                                  THE LEGAL AID SOCIETY
                                               CRIMINAL APPEALS BUREAU
                                                199 Water Street, 5th Floor
                                               New York, New York 10038
                                                           (212) 577-3442
                                               WILL A. PAGE, Of Counsel
                                                    Attorney for Petitioner
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                                No. _____________

                             In the
                 Supreme Court of the United States
                                ___________________________________________________________________




                              WILLIAM ALEXANDER,
                                                                                                      Petitioner,
                                                              v.

                   THE PEOPLE OF THE STATE OF NEW YORK,
                                                 Respondent.
                                ___________________________________________________________________




                     ON PETITION FOR A WRIT OF CERTIORARI
              TO THE SUPREME COURT OF THE STATE OF NEW YORK,
                   APPELLATE DIVISION, SECOND DEPARTMENT

                                ___________________________________________________________________




                   MOTION FOR LEAVE TO PROCEED
                        IN FORMA PAUPERIS
                                ___________________________________________________________________




              Alan S. Axelrod
               Counsel of Record
              Will A. Page*
              LEGAL AID SOCIETY
                CRIMINAL APPEALS BUREAU
              199 Water Street, 5th Floor
              New York, New York 10038
               * Admitted in N.Y. and
                 the Second Circuit

                              Counsel for Petitioner




                                                        [ A1 ]
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                                       1

                   MOTION FOR LEAVE TO PROCEED
                        IN FORMA PAUPERIS

                  Petitioner William Alexander moves for leave to
             proceed in forma pauperis, and to file the enclosed
             Petition for a Writ of Certiorari to the Supreme Court
             of the State of New York, Appellate Division, Second
             Department.

                 On March 30, 2015, Petitioner was granted, under
             New York County Law § 722, leave to so proceed in
             the Supreme Court of the State of New York,
             Appellate Division, Second Department. A copy of
             that court's order is attached to this motion.



                                    Respectfully ubmitte


                                    Alan Axelrod
                                     Counsel of Record
                                    Will A. Page
                                    LEGAL AID SOCIETY
                                      CRIMINAL APPEALS BUREAU
                                    199 Water St. 5th Floor
                                    New York, NY 10038
                                    (212) 577-3470
                                    AAxelrod@legal-aid.org

             September 23, 2019




                                     [ A2 ]
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                     upreme Court of the tate of New Durk
                 Appellate Division: econd Judicial Department
                                                                                             M189890
                                                                                                  V/
RUTH C. BALKIN, J.P.
L. PRISCILLA HALL
SHERI S. ROMAN
JEFFREY A. COHEN, JJ.


2015-00834

The People, etc., respondent,                                  DECISION & ORDER ON MOTION
v William J. Alexander, appellant.                                   Motion for Poor Person Relief
                                                                            and to Assign Counsel
(Ind. No. 10999/12)




                Motion by the appellant pursuant to CPL 460.30 for an extension of time to take an
appeal from a judgment of the Supreme Court, Kings County, rendered December 23, 2014, for leave
to prosecute the appeal as a poor person, and for the assignment of counsel.

                Upon the papers filed in support of the motion and the papers filed in relation thereto,
it is

                ORDERED that the motion is granted; and it is further,

               ORDERED that the appellant's moving papers are deemed to constitute a timely
notice of appeal; and it is further,

                ORDERED that the appeal will be heard on the original papers (including a certified
transcript of the proceedings, if any) and on the appellant's and the respondent's briefs; the parties
are directed to file nine copies of their respective briefs and to serve one copy on each other; and it
is further,

                 ORDERED that the stenographer of the trial court is directed promptly to make,
certify, and file two transcripts of the proceedings of any pretrial hearings, of the plea of guilty or
of the trial, and of the imposition of sentence in this action, except for those minutes previously
transcribed and certified (see 22 NYCRR 671.9); and it is further,




March 30, 2015                                                                                  Page 1.
                             PEOPLE v ALEXANDER, WILLIAM J.
                                               [ A3 ]
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                ORDERED that in the event that the case was tried to a conclusion before a jury, the
stenographer shall also make, certify, and file two transcripts of the minutes of proceedings during
jury selection; and it is further,

                ORDERED that the Clerk of the trial court shall furnish one certified transcript of
each of the proceedings set forth above to the appellant's counsel, without charge (see CPL 460.70);
assigned counsel is directed to turn over those transcripts to the respondent when counsel serves the
appellant's brief on the respondent; and it is further,

                ORDERED that in the event the stenographer has already prepared a copy of any of
the minutes for a codefendant, then the Clerk of the trial court is directed to reproduce a copy thereof
for assigned counsel; and it is further,

                 ORDERED that, upon service of a copy of this decision and order on motion upon
it, the Department of Probation is hereby authorized and directed to provide assigned counsel with
a copy of the presentence report prepared in connection with the defendant's sentencing, including
the recommendation sheet and any prior reports on the defendant which are incorporated in or
referred to in the report; and it is further,

                 ORDERED that in the event an issue as to the legality, propriety, or excessiveness
of the sentence is raised on appeal, or if assigned counsel cites or relies upon the probation report
in a brief or motion in any other way, counsel shall provide a complete copy of such report and any
attachments to the court and the District Attorney's office prior to the filing of such brief or motion;
and it is further,

               ORDERED that pursuant to County Law § 722 the following named attorney is
assigned as counsel to prosecute the appeal:

                                    Seymour W. James, Jr., Esq.
                                      The Legal Aid Society
                                    199 Water Street - 51h Floor
                                    New York, New York 10038

and it is further,

              ORDERED that the appellant's time to perfect the appeal is enlarged; assigned
counsel shall prosecute the appeal expeditiously in accordance with this Court's rules (see 22
NYCRR 670.1, et seq.) and written directions; and it is further,

                ORDERED that in the event the file has been sealed, it is hereby unsealed for the
limited purpose of allowing assigned counsel or his or her representative access to the record for the
purpose of preparing the appeal; such access shall include permission to copy the papers insofar as
they pertain to the appellant; and it is further,




March 30, 2015                                                                                  Page 2.
                                         [ A4 ]
                             PEOPLE v ALEXANDER, WILLIAM J.
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             ORDERED that assigned counsel is directed to serve a copy of this decision and order
on motion upon the clerk of the court from which the appeal is taken.


BALKIN, J.P., HALL, ROMAN and COHEN, JJ., concur.


                                             ENTER:



                                                          Aprilanne Agostino
                                                          Clerk of the Court

Appellant's Address:
14-A-1476
Cape Vincent Corr. Fac.
P.O. Box 599
Cape Vincent, N.Y. 13618




March 30, 2015                                                                           Page 3.
                           PEOPLE v ALEXANDER,
                                       [ A5 ]  WILLIAM J.
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                                No. _____________

                             In the
                 Supreme Court of the United States
                                ___________________________________________________________________




                              WILLIAM ALEXANDER,
                                                                                                      Petitioner,
                                                              v.

                   THE PEOPLE OF THE STATE OF NEW YORK,
                                                 Respondent.
                                ___________________________________________________________________




                     ON PETITION FOR A WRIT OF CERTIORARI
              TO THE SUPREME COURT OF THE STATE OF NEW YORK,
                   APPELLATE DIVISION, SECOND DEPARTMENT

                                ___________________________________________________________________




                PETITION FOR A WRIT OF CERTIORARI
                                ___________________________________________________________________




              Alan S. Axelrod
               Counsel of Record
              Will A. Page*
              LEGAL AID SOCIETY
                CRIMINAL APPEALS BUREAU
              199 Water Street, 5th Floor
              New York, New York 10038
               * Admitted in N.Y. and
                 the Second Circuit

                              Counsel for Petitioner




                                                        [ A6 ]
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                         QUESTION PRESENTED

                 Whether Chambers v. Mississippi, 410 U.S. 284
             (1973), and its progeny require the admission of reli-
             able photographic evidence of what an accused was
             wearing on the day in question, particularly where
             the defense to the charges is one of misidentification,
             where no forensic evidence ties the accused to the
             crime, and where the excluded photographic evidence
             contradicts all eyewitness testimony.




                                     [ A7 ]
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                                              [ A8 ]
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                                             [ A9 ]
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                 PETITION FOR A WRIT OF CERTIORARI

                  William Alexander respectfully petitions for a
              writ of certiorari to review the judgment of the
              Supreme Court of the State of New York, Appellate
              Division, Second Department.

                     OPINIONS AND ORDERS BELOW

                  The opinion of the Supreme Court of the State of
              New York, Appellate Division, Second Department
              appears at Appendix A and is reported at People v.
              Alexander, 93 N.Y.S.3d 608 (N.Y. App. Div. 2d Dep’t
              2019). The oral rulings of the Supreme Court of the
              State of New York, County of Brooklyn, denying ad-
              mission of Mr. Alexander’s arrest photograph were
              made in limine and appear at Appendix B.

                                JURISDICTION

                  The Second Department entered its opinion on
              March 6, 2019. The New York Court of Appeals de-
              nied permission to appeal in an order dated June 27,
              2019, which appears at Appendix C and is reported at
              33 N.Y.3d 1066 (2019). This Court’s jurisdiction is in-
              voked under 28 U.S.C. § 1257(a).

               CONSTITUTIONAL PROVISIONS INVOLVED

                  The relevant constitutional provisions from the
              Sixth and Fourteenth Amendments are reproduced at
              Appendix E.




                                      [ A10 ]
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                                         2

                                INTRODUCTION

                  This case presents a critical opportunity for the
              Court to reaffirm longstanding principles of criminal
              constitutional law through the simple application of
              Chambers v. Mississippi, 410 U.S. 284 (1973), and its
              progeny to an erroneous, severely detrimental, and
              one-sided exclusion of defense evidence—petitioner’s
              mugshot. This case is unencumbered by extraneous
              considerations, namely AEDPA deference, making it
              ideal for summary treatment.

                  At trial, petitioner repeatedly sought to introduce
              his mugshot in support of his misidentification de-
              fense. The importance of the photo was simple: How
              could petitioner, as alleged, be the perpetrator of a
              robbery committed by a man wearing a distinctively
              bright outfit when his clothing was so drab? The rob-
              ber was chased from the scene, arrested in flight, and
              photographed that day—and no forensic evidence tied
              petitioner to the crime. Thus, petitioner’s mugshot
              cast grave doubts on the witnesses’ identifications.

                   Despite urging that Chambers required the ad-
              mission of the photo, the trial court ruled it was
              a) irrelevant, b) unreliable, and c) lacking foundation.
              In contrast, the court allowed the prosecution to in-
              troduce every photograph proffered. The court ex-
              plained that “no . . . United States Supreme Court . . .
              law [] says that the fundamental rulings of evidence
              are to be twisted into an unrecognizable shape, to al-
              low a defendant to present a defense.” (60a-61a.)
              This Court should summarily reverse, given the trial
              court’s erroneous understanding of the law and unjus-
              tifiable disparate treatment of petitioner.




                                      [ A11 ]
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                        STATEMENT OF THE CASE

                  1. In December 2012, on a Brooklyn street in the
              early afternoon, a man wearing a bright yellow hoodie
              with a blue vest committed an armed robbery. After
              a short chase, with the complainant and an eyewit-
              ness pursuing the suspect, officers recognized and ar-
              rested a man based on that same brightly colored
              outfit. That man—the armed robber—was taken to
              the station and photographed. Apparently, so was
              Mr. Alexander, who is pictured, in custody, below.
              (See Mugshot, App’x D.)




                 Petitioner’s arrest photograph, above, shows what
              he was wearing that day—drab maroon colors that




                                     [ A12 ]
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                                         4

              could not be mistaken for the universally accepted de-
              scription of the robber’s yellow and blue outfit. Nev-
              ertheless, the prosecution claimed that Mr. Alexander
              was the man that committed the armed robbery.
                  2. At trial, the complainant and an eyewitness de-
              scribed the individual wearing the bright yellow
              hoodie with a blue vest who committed the armed rob-
              bery, as having the hood pulled over his head and ap-
              pearing to be a teenager. They detailed how, after
              witnessing the robbery, the eyewitness immediately
              helped the complainant into his car and the two
              chased after the robber, who was fleeing on a bike.
              The eyewitness also described calling the police and
              relaying the description of the robber—and his bright
              yellow hoodie and blue vest—to the 911 operator
              while the two were chasing after the man on the bike.
                  The jury learned that New York City Police Offic-
              ers Thomas and Jordan, after receiving information
              from the 911 call, subsequently saw a black man
              wearing a yellow hoodie with a blue vest ride by on a
              bicycle. Recognizing his brightly colored outfit, they
              pursued, caught, and arrested him. When the eyewit-
              ness and complainant arrived on the scene shortly
              thereafter, they saw a black man in a yellow hoodie
              and blue vest being arrested.
                   3. Notably, Officer Jordan testified at the Grand
              Jury, just as she had reported in the arrest paper-
              work, that she had recovered a gun from the scene of
              the arrest. (See 40a.) Indeed, she told the officer con-
              ducting the forensics investigation that she had “re-
              covered the gun on the sidewalk[.]” But, when that
              officer sought a DNA sample for elimination pur-
              poses, she refused to provide one. (34a-35a.)




                                      [ A13 ]
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                  Her refusal was troubling enough. But then, un-
              der oath at the pre-trial hearings, she changed her
              story and testified that it was actually Officer Thomas
              who recovered the gun after they pursued the perpe-
              trator wearing the yellow hoodie and a blue vest. (See
              5a.)1 Despite being the officer who took the photo-
              graphs of the bike, of the recovered money, and of
              Mr. Alexander, Officer Jordan never testified at trial.2
                  4. Maintaining his innocence, petitioner at-
              tempted to introduce his arrest photograph, taken by
              Officer Jordan, to irrefutably show that he was not,
              on the day in question, the man wearing the bright
              yellow hoodie and blue vest. Indeed, Mr. Alexander
              was 39 years old, not 19, and his maroon and gray
              outfit resembled the robber’s in style only.
                  The trial judge, however, repeatedly excluded the
              mugshot, giving ever shifting reasons for why it could
              not be admitted.



                  1 Thomas repeated the new story at trial, testifying he used
              gloves to retrieve the weapon, placed it in a paper bag, and
              turned it over to Jordan once it was deemed safe. (14a-15a.)
                    2 Although defense counsel agreed that there would be “no

              questioning regarding any pending cases” involving Officer Jor-
              dan, specifically her domestic violence charges, (37a; see also
              50a), Jordan indicated that if she had been called as a witness
              she would have asserted her Fifth Amendment rights. Under-
              standably, she was likely concerned about a) the conflict between
              her statements made at the Grand Jury versus during the pre-
              trial hearings and b) her refusal to provide a DNA sample in re-
              lation to the gun “recovered” at the scene. Indeed, at trial, eve-
              ryone recognized the issue: “when [Jordan] testified under oath
              at [the] hearing [she] admitted that her testimony in the grand
              jury was incorrect[.]” (40a-41a (emphasis added).)




                                           [ A14 ]
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                                         6

                   For example, the judge claimed the photo was un-
              reliable and irrelevant, because it conflicted with the
              description of the perpetrator. (20a-21a.) The judge
              suggested Mr. Alexander could forgo his right against
              self-incrimination, take the stand, and “testify as to
              how he looked and if these were his clothes,” perhaps
              rendering the photo relevant and reliable. (22a.) Oth-
              erwise, the judge asserted the defense could not “get[]
              past the[] evidentiary issues” surrounding the photo,
              because there was no proof that Mr. Alexander had
              not changed his clothes. (42a-46a.)
                   But nothing other than rampant speculation was
              presented to render the photo, taken by the police, un-
              reliable. The fact that it conflicted with the witnesses’
              testimony actually made it all the more relevant and
              critical to Mr. Alexander’s misidentification defense.
                  Then, after the defense pushed again to introduce
              the photograph and argued that denying Mr. Alexan-
              der the opportunity to put this critical piece of identi-
              fication related evidence before the jury violated his
              constitutional rights to present a defense, citing to
              Chambers v. Mississippi, 410 U.S. 284 (1973), the
              prosecution and the court shifted rationales. This
              time, the prosecution asserted there was a lack of an
              evidentiary foundation for the arrest photo—because
              the officer who took the photograph, Officer Jordan,
              had not testified. (57a-62a.) Of course, when Jordan
              was later questioned with respect to a missing wit-
              ness charge, she indicated that she would have as-
              serted her Fifth Amendment rights in a blanket
              fashion to avoid testifying. (69a-70a.)
                  Moreover, and contrary to the lack of foundation
              contention, Officer Jordan’s partner, Officer Thomas,




                                       [ A15 ]
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                                              7

              was able to confirm at trial that whomever they trans-
              ported from the scene of the arrest to the precinct
              (whether it was the robber or Mr. Alexander) did not
              receive any visitors prior to being photographed.
                  Thus, either the photo depicted the robber, but
              cast grave doubts on the witnesses’ veracity given the
              difference in his clothing, or it depicted Mr. Alexander
              who was, in fact, not the robber—just another man in
              a hoodie pulled out of lock-up and charged with the
              armed robbery. Or, as the defense repeatedly tried to
              assert, this was a case of misidentification.
                  Even without the photographer herself (Officer
              Jordan),3 Officer Thomas’s testimony should have
              been sufficient to authenticate this photograph,
              which the prosecution conceded depicted Mr. Alexan-
              der. Indeed, the prosecution had no problem admit-
              ting, over defense objection, Officer Jordan’s
              photographs of a) the bicycle that the robber was rid-
              ing and b) the money recovered from the actual rob-
              ber. (8a-10a; 11a-13a.)



                  3  When the defense sought a missing witness charge, after
              being denied the ability to question Jordan as a hostile witness,
              (55a-56a), the court questioned her directly. The judge asked,
              “If you were called to the stand on this case, would you have as-
              serted your Fifth Amendment privileges [to] not testify?” (69a.)
              Jordan indicated that, “Yes,” she “would have.” (Id.)
                   The defense then tried to examine her about her actions as
              “the arresting officer in the case” to establish the extent of her
              adversity, but the court cut-off any questioning. (70a.) The de-
              fense could not clarify whether her Fifth Amendment refusal re-
              lated to “her open case” or to “the arrest of Mr. Alexander,”
              because the court allowed no further questions. (Id.)




                                           [ A16 ]
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                                         8

                   Apparently, whenever the prosecution sought to
              admit photos through Officer Thomas—the only po-
              lice witness made available—the evidentiary founda-
              tion was unquestioned. But when Mr. Alexander
              tried to admit a reliable and contemporaneous depic-
              tion of what he was wearing on the day of the robbery,
              the court would not budge. Most relevantly, the trial
              court stated that it knew of “no . . . United States Su-
              preme Court . . . law that says that the fundamental
              rulings of evidence are to be twisted into an unrecog-
              nizable shape, to allow a defendant to present a de-
              fense. All defenses that are presented must comply
              with the rules of evidence.” (60a-61a.)
                 With the photo excluded, petitioner was convicted
              and sentenced to 25 years of imprisonment.
                  5. On direct appeal, the Appellate Division, Sec-
              ond Department, of the Supreme Court of New York
              determined that there was no foundation for the ad-
              mission of the photograph and, in any event, the fail-
              ure to admit it was harmless. (App’x A.)
                  The Appellate Division did not engage with the
              constitutional issues presented, nor did it mention
              that the only other piece of physical evidence recov-
              ered—the gun—had never been handled by Mr. Alex-
              ander. The prosecution’s own DNA expert had
              concluded it was over 350 times more likely that three
              random people had handled the gun than petitioner.
                  Thus, the allegedly overwhelming evidence of
              guilt in this case was apparently the eyewitnesses’
              and testifying officer’s testimony that Mr. Alexander
              was the man in the yellow hoodie, even if that is not
              what was depicted in the photo.




                                      [ A17 ]
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                                         9

                 New York’s highest court, the Court of Appeals,
              denied leave to appeal on June 27, 2019. (App’x C.)
                REASONS FOR GRANTING THE PETITION

                  Mr. Alexander is serving 25 years for an armed
              robbery committed by a man wearing a yellow hoodie
              and a blue vest. Since Chambers v. Mississippi, 410
              U.S. 284 (1973), and Crane v. Kentucky, 476 U.S. 683
              (1986), the rules have been clear: “the Constitution
              guarantees criminal defendants ‘a meaningful oppor-
              tunity to present a complete defense,’” Crane, 476
              U.S. at 690, and where those “constitutional rights di-
              rectly affecting the ascertainment of guilt are impli-
              cated,” evidentiary rules “may not be applied
              mechanistically to defeat the ends of justice,” Cham-
              bers, 410 U.S. at 302. Nevertheless, time and time
              again this Court has had to remind the States of the
              vitality of these important protections against “arbi-
              trary” rules. See Holmes v. South Carolina, 547 U.S.
              319, 325-26 (2006) (considering the examples from
              Washington v. Texas, Chambers, Crane, and Rock v.
              Arkansas in reversing another arbitrary application
              of a State rule of evidence). Because this case is just
              another example in a long line of such deprivations,
              error correction via summary reversal is appropriate.
              See, e.g., Caetano v. Massachusetts, 136 S. Ct. 1027,
              1028 (2016) (per curiam) (where the “explanation the
              Massachusetts court offered for upholding [a] law
              [prohibiting stun guns] contradict[ed] this Court’s [re-
              cent] precedent,” certiorari granted, state judgment
              vacated, and the case remanded).




                                      [ A18 ]
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                  Despite this Court’s strenuous warning against
              the danger of excluding defense evidence after “eval-
              uating the strength of only [the prosecution’s] evi-
              dence,” Holmes, 547 U.S. at 331, the trial court in this
              case committed exactly the same error. When the
              trial judge concluded that the conflict between the
              witnesses’ description of the perpetrator and the
              photo of Mr. Alexander rendered the photographic ev-
              idence unreliable or irrelevant, the court committed
              the same single-sided error in logic as in Holmes.
              “The point is that, by evaluating the strength of only
              one party’s evidence, no logical conclusion can be
              reached regarding the strength of contrary evidence
              offered by the other side to rebut or cast doubt.”
              Holmes, 547 U.S. at 331.

                   Moreover, there is a fundamental inequity in al-
              lowing the prosecution to present photographs taken
              by an officer who does not testify, only to bar the ad-
              mission of similar photographs when introduced by
              the defense. Two adages intersect in this case: “what
              is good for the goose is good for the gander” and “a
              picture is worth a thousand words.” The prosecution
              benefitted from the photos in this case, while Mr. Al-
              exander was denied the same opportunity. Perhaps
              this stark—and unjustifiable—disparate treatment
              explains why defense counsel repeatedly raised the is-
              sue, arguing again and again with the trial judge that
              this photograph had to be admitted in order to pre-
              serve petitioner’s constitutional right to present a de-
              fense. Indeed, the exclusion of such evidence in
              similar circumstances is so contrary to this Court’s es-
              tablished precedent as to warrant habeas relief. See,
              e.g., Kubsch v. Neal, 838 F.3d 845, 858 (7th Cir. 2016)
              (en banc) (discussing the well-established “lessons




                                      [ A19 ]
Case 1:21-cv-01006-AMD Document 1-4 Filed 02/24/21 Page 22 of 77 PageID #: 86




                                        11

              from the Chambers line of cases” with respect to the
              erroneous exclusion of exculpatory videotaped inter-
              views of two witnesses); see also Scrimo v. Lee, No. 17-
              3434, --- F.3d ----, 2019 WL 3924811, at *14 (2d Cir.
              Aug. 20, 2019) (habeas granted after Chambers viola-
              tion, unaddressed by Second Department, deprived
              accused of chance to introduce reasonable doubt).

                  The jury never had a chance to see the photo for
              themselves. The issue of how Mr. Alexander could be
              the perpetrator—when the robber was never out of
              sight long enough to have performed a miraculous
              wardrobe change—was never fully presented to the
              jury because they could not compare the contempora-
              neous photograph to the witnesses’ descriptions for
              themselves. Although they heard that a photo existed
              that showed him in “different clothes,” they could not
              weigh the witnesses’ credibility against photographic
              proof of what Mr. Alexander was actually wearing.
              They could not decide whether the wrong black man
              in a hoodie had been pulled out of lock-up or off the
              street and charged with someone else’s offenses.

                  Summary reversal is appropriate here for many
              of the reasons recognized by the circuit in Kubsch.
              First, this case, like the Chambers line of cases, deals
              with the exclusion of evidence directly relevant to the
              asserted defense—misidentification. Second, the evi-
              dence was essential: it was photographic evidence of
              what Mr. Alexander was wearing at the time of his
              arrest, which directly contradicted the witnesses’ de-
              scription of the perpetrator. Third, the photograph
              was reliable, as it was police-generated. And, in con-
              trast to Holmes, the collateral evidence (the forensic
              evidence) did not match petitioner.




                                      [ A20 ]
Case 1:21-cv-01006-AMD Document 1-4 Filed 02/24/21 Page 23 of 77 PageID #: 87




                                        12

                  His DNA was not found on the handgun recovered
              at the scene; instead, it was at least 350 times more
              likely that the DNA “mixture” that was recovered did
              not include any genetic material from Mr. Alexander.

                   Finally, as the Seventh Circuit eloquently stated
              in Kubsch, “the state cannot regard evidence as relia-
              ble enough for the prosecution, but not for the de-
              fense.” Kubsch, 838 F.3d at 858. The “lack of parity,”
              id., was on full display in this case, where the prose-
              cution was allowed to admit photographs taken by the
              non-testifying officer but the defense was not. If the
              photographic evidence in this case was reliable
              enough for the prosecution, then it should have been
              reliable enough for Mr. Alexander to present his com-
              plete misidentification defense. Instead, “the jury
              never [saw] a critical additional piece of evidence,
              which, if credited, would have permitted them to find
              that the police had the wrong man.” Id. at 850; see
              also Scrimo, 2019 WL 3924811, at *14 (“wrongfully
              excluded testimony would have introduced reasona-
              ble doubt where none otherwise existed”).

                  Recognizing that the trial court’s exclusion of Mr.
              Alexander’s arrest photo runs afoul of Chambers and
              its progeny, including Holmes, this Court should
              grant the petition to correct an error of constitutional
              dimension, vacating petitioner’s conviction, and re-
              manding the case for further proceedings.




                                      [ A21 ]
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                                       13

                                CONCLUSION

                  For the foregoing reasons, the Court should grant
              the petition for a writ of certiorari.

                                     Respectfully s bmitted,
                                                           ito 4
                                                     C (4 (
                                     Alan Axelrod
                                      Counsel of Record
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              September   g_3,2019




                                     [ A22 ]
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                             APPENDIX




                                   [ A23 ]
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                                    [ A24 ]
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                                                                1a

                                                   APPENDIX A

                                  Supreme Court of the State of ?hut York
                                Appellate Division Second Judicial Department
                                                                                                            D58399
                                                                                                              G/a fa


                     AD3d                                                              Argued - December 7.2018

               WILLIAM F. MASTRO, J.P.
               JEFFREY A. COHEN
               JOSEPH J. MALTESE
               HECTOR D. LASALLE, IL


               2015-00834                                                                   DECISION & ORDER

               The People, etc., respondent,
               v William Alexander, appellant

               (bd. No. 10999/12)




                               Janet E. Sabel, New York, NY (Anita Aboagye-Agyeman and Will Page ofcounsel),
                               for appellant.

                               Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove, Jean M. Joyce,
                               and Sullivan & Cromwell LLP [Michele C. Materni ], of counsel), for respondent

                             Appeal by the defendant from a judgment of the Supreme Court, Kings County
               (Vincent Del Giudice, J.), rendered December 23, 2014, convictinghim ofrobbery in the first degree
               and criminal possession of a weapon in the second degree, upon a jury verdict, and imposing
               sentence.

                               ORDERED that the judgment is affirmed.

                               Contrary to the de fendant's content ion, the Supreme Court providently exercised its
               discretion in excluding a photograph from evidence, as the defendant failed to lay a sufficient
               foundation for its admission (see People v Price, 29 NY3d 472, 479-480. ef: People v Wells, 161
               AD3d 1200; People v Marra, 96 AD3d 1623, 1626, affd 21 NY3d 9791. In any event, even if
               erroneous, the failure to admit the photograph was harmless, as the proofof the defendant's guilt was
               overwhelming and there is no significant probabili ty that the jury would have acquitted the defendant
               had the photograph been admitted (see People v Crimmins, 36 NY2d 2301.

               March 6, 2019                                                                                 Page I.
                                             PEOPLE v ALEXANDER, WILLIAM




                                                            [ A25 ]
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                                                             2a



                               The sentence imposed was not excessive (see People v Suitte, 90 AD2d 80).

               MASTRO, J.P., COHEN, MALTESE and LASALLE, JJ., concur.

                                                           ENTER:



                                                                         A prilanne Agosti nu
                                                                         Clerk of the Court




               March 6, 2019                                                                           Page 2.
                                            PEOPLE v ALEXANDER, WILLIAM




                                                          [ A26 ]
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                                             3a

                                     APPENDIX B

                 SUPREME COURT OF THE STATE OF NEW YORK

                 COUNTY OF KINGS : CRIMINAL TERM : PART 27

                                                          X

                 THE PEOPLE OF THE STATE OF NEW YORK      :   INDICTMENT NO.
                                                               10999-2012
                            - against -

                 WILLIAM ALEXANDER

                                           DEFENDANT           HEARINGS

                                                          X

                                          320 JAY STREET
                                          BROOKLYN, NEW YORK    11201

                                          MARCH 19, 2014




                 BEFORE:    HONORABLE RUTH SHILLINGFORD, JUSTICE




                 APPEARANCES:



                            CHARLES J. HYNES, ESQ.
                                 District Attorney, Kings County
                                 BY:  STEPHANIE ROSENFELD, ESQ.
                                      Assistant District Attorney



                           THE LEGAL AID SOCIETY
                                Attorney for Defendant
                                BY:  STEVEN KLIMAN, ESQ.
                                BY:  CLINTON HUGHES, ESQ.




                                                  GEORGE DAVID DAVILA
                                                  SENIOR COURT REPORTER




                                          [ A27 ]
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                                                     4a


                                  DIRECT - P.O. JORDAN - ROSENFELD                    9

               1       Q.   Once you saw the defendant riding on his bike, what

               2   happened next?

               3       A.     We actually made a U-turn        He passed me and we

               4   actually made a U-turn.       So we were actually driving the

               5   opposite way of traffic.        We put our lights and sirens.     I put

               6   my window down, told him to stop and he continued to ride his

               7   bike.

               8      Q.    And what happened after?

               9                  THE COURT:       One moment, please.

              10                    MS. ROSENFELD:     I apologize.

              11                    THE COURT:     You indicated that you told him to

              12      stop?

              13                    THE WITNESS:     Yes.

              14                  THE COURT:       Continue.

              15      Q.    After you told him to stop what happened?

              16       A.     He continued to ride his bike.       He actually attempted

              17   to go on the curb.

              18      Q.      What happened when he attempted to go on the curb?

              19       A.   He actually fell.        So I jumped out of the vehicle.

              20   grabbed him but before I grabbed him, he pulled out a weapon

              21   and threw it to his side, to his right.

              22      Q.      Did you see what type of weapon it was?

              23      A.    It was a nine millimeter pistol.

              24      Q.      Now, after you saw him throw the pistol to the side

              25   and then you saw him on the ground, what did you do?




                                                 [ A28 ]
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                                                      5a


                                     DIRECT - P.O. JORDAN - ROSENFELD         10

               1       A.     Well, he got up on his own and threw the gun to the

               2   side.    I just grabbed him and we cuffed him.

               3       Q.     Just backtracking a little bit, was that gun that was

               4   thrown to the side ever recovered?

               5       A.    Yes.

               6      Q.      Who recovered it?

               7       A.     My partner, Officer Thomas.

                      Q.      What type of gun was it?

               9       A.     It was a nine millimeter.

              10       Q.     Was it loaded?

              11      A.     Yes.

              12      Q.      Now, after you stopped the defendant did you ever have

              13   a chance to meet with the victim?

              14       A.     Yes.

              15      Q.      Do you remember the victim's name?

              16      A.     Yudelka Veras.

              17                     THE COURT:     Veros?

              18                     THE WITNESS:     Veras with an "Ss.

              19      Q.     How did you come to meet the victim?

              20      A.     She actually came to the scene and identified the

              21   perpetrator.

              22      Q.     How did she come to the scene?

              23      A.     She was actually in a friend's car, I think.   She was

              24   in another car.      She wasn't in a police car.

              25      Q.     When she came to the scene, did you have a chance to




                                                  [ A29 ]
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                                                    6a




                1      SUPREME COURT OF THE STATE OF NEW YORK

                 2     COUNTY OF KINGS:     CRIMINAL TERM:   PART: 25

                 31                                              X

                 4     PEOPLE OF THE STATE OF NEW YORK,
                                                                   Indictment
                5                                                : No. 10999/12
                                -against-
                6
                       WILLIAM ALEXANDER,
                7
                                             Defendant.
                8                                                X

                 9tl                                   320 Jay Street
                                                       Brooklyn, New York
                10                                     December 1, 2014

                11     BEFOR    E:

                12         HONORABLE VINCENT DELGIUDICE,
                                Justice of Supreme Court
                13
                       APPEARANCE            S:
                14
                            KENNETH P. THOMPSON, ESQ.
                15              DISTRICT ATTORNEY KINGS COUNTY
                            BY: STEPHANIE ROSENFELD, ESQ.
                16              DAVID RASKIN, ESQ.
                           Assistant District Attorneys
                17
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                20         Attorneys for the Defendant

                21u        MERCEDES FERNANDEZ,
                                Official Spanish Interpreter
                22

                23
                                                          PHYLLIS PRICE
                24                                        SCOTT ISAACS
                                                          OFFICIAL COURT REPORTERS
                25

                                                                                     PP




                                                  [ A30 ]
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                                                    7a


                                              Direct - PO Thomas                         75


                 1       A       Him right there, with the white shirt.

                 2                     THE COURT:   Indicating the defendant.

                 3                     MS. ROSENFELD:   Thank you, your Honor.

                4        Q       Now you said you saw the defendant riding a bike down

                5    Fulton Street.

                6                Is that going towards Chestnut Street, or away from

                 7   Chestnut Street?

                8        A       Away from Chestnut Street.

                9        Q       Now, after you saw the defendant riding the bike,

                10   what happened next?

                11       A       He rode past us, at the point.

                12               When he got to my vehicle, he made eye contact with

                13   me and my partner, and I made eye contact with him.

                14       Q       And after you made eye contact with him?

                15       A       I put the turret lights on the vehicle.     I turned the

                16   vehicle around.     I drove behind the defendant, and hit the

                17   siren.

                18       Q       Did you ever lose sight of the defendant?

                19       A       No.

                20       Q       Was your view of the defendant ever obstructed by

                21   anything?

                22       A       No.

                23       0       Now, you are following the defendant.     What happens?

                24       A       When I got close to behind him, I hit I siren.    And

                25   he jumped off the bike, and threw the gun to the ground.

                                                                                         PP




                                                [ A31 ]
Case 1:21-cv-01006-AMD Document 1-4 Filed 02/24/21 Page 34 of 77 PageID #: 98




                                                   8a


                                            Direct - PO Thomas                      76


                1        Q    Had you instructed the defendant to stop?

                2        A    Yes.

                 3       Q    How did you do that?

                4        A    Police, stop, don't move.

                5        Q    And did the defendant stop?

                6        A    Yes.

                 7       Q    Then what happened?

                8        A    He put his hands up. My partner had him at gunpoint,

                9    while I went over to the side of him to put the handcuffs on




                         Q    Now, you said you saw the defendant throw something.

                              What did you see him throw?

                13       A    A black handgun.

                19       0    And where did he throw the gun to?

                15       A    On the sidewalk.

                16       Q    Now, did you ever hit the defendant with your police

                17   vehicle while he was on the bicycle?

                18       A    Never.

                19                   MS. ROSENFELD.   I'd like to have this marked as

                20       People's number Two for identification.

                21                   (People's   2, marked for identification.)

                22       Photo of bike

                23       Q    officer, do you recognize what's been handed to you

                24   as People's number Two for identification?

                25       A    Yes.

                                                                                    PP




                                                 [ A32 ]
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                                                    9a


                                      Direct - PO Thomas - Voir Dire                  77


                 1       Q    What do you recognize it to be?

                 2       A    The black bicycle he was riding that day.

                 3       Q    Is that photo a fair and accurate representation of

                 4   what the defendant's bike looked like on December 29th 2012?

                 5       A    Yes.

                 6                   MS. ROSENFELD:    I would like to have this moved

                 7       into evidence as People's number Two in evidence.

                                     THE COURT:    Voir dire or exception, Counsel?

                 9                   MS. NARUMACHI:    If I may voir dire?

                10                   THE COURT:    Go right ahead.

                11   VOIR DIRE EXAMINATION

                12   BY MS. NARDMACHI:

                13       0    Who took that photograph?

                14       A    The arresting officer.

                15       Q    And who is the arresting officer in this case?

                16       A    Officer Jordan.

                17       Q    Do you know when that photo was taken?

                18       A    The day of.

                19       0    And how do you know that?

                20       A    She told me.

                21       Q    She told you that she took that photo?

                22       A    Yes.

                23       Q    You weren't present when that photo was taken?

                24       A    No.

                25       Q    You did not process any of the voucher paperwork --

                                                                                      PP




                                                  [ A33 ]
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                                                 10a


                                           Direct - PO Thomas                          78


                 1                  THE COURT:   Sustained.   What does that have to

                 2    do, it is an exhibit.

                 3           Voir dire on the photograph.

                 4                  MS. NARUMACHI:   I apologize, Judge.

                 5                  (Whereupon, counsel confers with co-counsel.)

                 6                  MS. NARUMACHI:   Judge, I would argue it goes to

                 7    authenticating the bike.

                 8                  THE COURT:   You have an objection to it?

                 9                  MS. NARUMACHI:   I do have an objection.

                10                  THE COURT:   Your objection is overruled.

                11           That is the bike you saw?

                12                  THE WITNESS:   Yes.

                13                  THE COURT:   It is in evidence.

                14                  (People's 2 marked in evidence.)

                15    Photo of bike

                16                  MS. ROSENFELD:   If I may publish it to the jury

                17    now?

                18                  THE COURT:   Go ahead.

                19                  (Whereupon, exhibit published to the jury.)

                20    Q      Officer, again, you recognize this bike?

                21    A      Yee.

                22    0      Where do you recognize it from?

                23    A      The defendant was riding on December 29th.

                24    0      Thank you very much.

                25           After the defendant had stopped, and after he threw

                                                                                       PP




                                             [ A34 ]
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                                                  11a


                                             Direct - PO Thomas                    83


                 1                   (Whereupon, the following was held in open court

                 2       before the jury.)

                 3                   THE COURT:   Okay, Miss Rosenfeld.

                 4                   MS. ROSENFELD:   Thank you.

                 5       Q    Officer, looking at People's number Three for

                 6   identification.

                 7            Who recovered the actual money off of the defendant?

                 8       A    I did.

                 9       Q    And once you recovered that money off of the

                10   defendant, what did you do with it?

                11       A    I handed it to Officer Jordan.

                12       Q    Did you see what Officer Jordan did with it?

                13       A    No.

                14       Q    Did you see how this photocopy was made?

                15       A    No.

                16       Q    Officer, now when you recovered the money off of the

                17   defendant, did you take a look at it?

                18       A    Yes.

                19       Q    And how much money do you recall there to be?

                20       A    $40.

                21       Q    And what were the denominations?

                22       A    $20 and two 10s.

                23       Q    And is this photocopy a fair and accurate

                24   representation of the money that you recovered off the

                25   defendant on December 29th 2012?

                                                                                   PP




                                              [ A35 ]
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                                                     12a


                                         Direct - PO Thomas - Voir Dire                84


                 1          A    Yes.

                 2                      MS. ROSENFELD:   At this time, I would ask it be

                 3          received into evidence as People's number Three.

                 4                      THE COURT:   Voir dire?

                 5                      MS. NARUMACHI:   Yee.

                 6   VOIR DIRE EXAMINATION

                 7   BY MS. NARUMACHI:

                 8          Q   You testified you recovered an amount of money from

                 9   Mr. Alexander?

                10          A   Yes.

                11          Q    Was it 20 and two $10 bills?

                12          A   Yes.

                13          Q   Do you know the serial numbers on those dollars,

                14   those items?

                15          A   No.

                16          Q   And you didn't see the money, what happened with the

                17   money after you gave it to Officer Jordan?

                18          A   No.

                19          Q   And you didn't see the photocopying of those bills

                20   that are in front of you?

                21          A   Can you repeat the question?

                22          0   You didn't see a photocopy made of that money, did

                23   you?

                24          A   No.

                25                      MS. NARUMACHI    I would object, Judge.

                                                                                       PP




                                                 [ A36 ]
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                                               13a


                                 Direct - PO Thomas - Voir Dire                    85


                 1              THE COURT:    Let me ask you a question.

                2          You gave Jordan 40 bucks, right?

                 3              THE WITNESS: Yes.

                 4              THE COURT: 20 and two 10s?

                 5              THE WITNESS: Yes.

                 6              THE COURT: She comes back to you, and she has a

                7     picture of a $20 bill, and two 10s, the photostat?

                 8              THE WITNESS:    On the day no, she didn't.

                 9              THE COURT:    Did Jordan photostat the $20 bill,

                10    and two 10s that you took from the defendant's pocket?

                11              THE WITNESS: Yes.

                12              THE COURT:    Is that the photostat?

                13              THE WITNESS: Yes.

                14              THE COURT:    It is in evidence.

                15              MS. NARUMACHI:    I would object.

                16              THE COURT:    Fine.    You have grounds for appeal.

                17    Goes to weight not admissibility.

                18              (People's 3 marked in evidence.)

                19    Photo of currency

                20              MS. ROSENFELD:    At this time, I would like

                21    People's number Three to be taken out of the packaging so

                22    I could publish it to the jury.

                23              THE COURT:    Show her on the overhead.

                24              THE COURT:     I think everybody saw a $20 bill,

                25    and two 10's.

                                                                                   PP




                                             [ A37 ]
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                                                      14a


                                               Direct - PO Thomas                         86


                 1                okay, let's move on.

                 2                      THE COURT:    Officer, at the time you searched

                3        the defendant and recovered the $40, did you recover any

                4        other money from the defendant?

                5        A       No.

                 6       Q       After you finished searching the defendant, what did

                 7   you do next?

                8        A       I placed him in the vehicle. And recovered the gun.

                9        Q       And where did you find the gun?

                10       A       On the sidewalk.

                11       Q       And did you pick the gun up?

                12       A       Yes.

                13       Q       Did you use anything to pick the gun up with?

                14       A       Gloves.

                15       Q       And what type of gun was it?

                16       A       A black .9-millimeter.

                17       Q       Was it loaded?

                18       A       Yes.

                19       Q       What did you do with the gun after you picked it up?

                20       A       I put it in a paper bag, and put it in the back seat.

                21       Q       Why did you do that?

                22       A       So I wouldn't get my fingerprints on it.      And for

                23   security.

                24       Q       And what did you do with the gun after you put it in

                25   the back seat of your vehicle?

                                                                                          PP




                                                     [ A38 ]
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                                                 15a


                                             Direct - PO Thomas                     87


                         A    We went back to the precinct to call Rao, the

                 2   detective and a police officer, to make sure it was rendered

                 3   safe.

                 4       Q    And after it was rendered safe by ESU, what was done

                5    with the gun?

                6        A    They handed it to Officer Jordan.

                7        Q    What happened next?

                8        A    Officer Jordan took a photograph of it.

                 9       Q    And after the gun was photographed, what happened

                10   next?

                11       A    After that, I went home.

                12       Q    Before you went home, was the gun ever given to ECT?

                13       A    Yes.

                14       Q    What is ECT?

                15       A    Evidence collection.

                16       Q    And after the gun was processed by ECT, do you know

                17   what Officer Jordan did with the gun?

                18       A    No.

                19       Q    Was the gun ever vouchered?

                20       A    Yes.

                21       Q    Do you know what voucher number was given to the gun?

                22       A    Yes.

                23       Q    What was the voucher number of the gun?

                24       A    3000161995.

                25       Q    And, Officer, did you bring the gun with you here

                                                                                    PP




                                               [ A39 ]
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                                                     16a


                                             Direct - PO Thomas                       88


                 1   today?

                 2       A    Yes.

                 3                    MS. ROSENFELD:    I would like to have that marked

                 4       as People's number Pour for identification.

                 5                    THE COURT:    Okay.

                 6                    (People's    3, marked for   identification.)

                 7       Handgun

                 8       Q    Sir, the gun that you brought with you today, you

                 9   recognize it?

                10       A    Yes.

                11       Q    And what do you recognize it to be?

                12       A    A black .9-millimeter handgun.

                13       Q    And is that the gun that you recovered off the ground

                14   on December 29th 2012?

                15       A    Yes.

                16                   THE COURT:     I think we are going to take a

                17       luncheon recess right now.

                18               Ladies and gentlemen, I ask you to come back at 2:15,

                19       okay.

                20            Please keep an open mind.

                21            Don't form, or express any opinions, or conclusions

                22       with respect to the evidence in the case until I submit it

                23       to you for your deliberations.

                24            Don't discuss this case amongst yourselves, or with

                25       anyone else.

                                                                                      PP




                                                   [ A40 ]
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                                P.O. Remel Thomas - Cross - Narumanchi


                1    gun far away from Mr. Alexander?

                2        A        No.

                3        Q        Isn't it true that the gun was not recovered next to

                4    him?

                5        A        The gun was recovered approximately four feet from

                6    him.

                7           Q     Now, as the arresting officer in this case, Officer

                8    Jordan is the person who completed the police reports in this

                9    case?

                10          A     Yes.

                11          Q     And, for example, she completed the arrest report?

                12          A     Yes.

                13          Q     She completed the complaint report?

                14          A     Yes.

                15          Q     And she also took the gun to the ECT Unit?

                15          A     Yes.

                17                       MS. NARUMANCRI:   Now, I would like to hand up tc

                18          Officer Thomas what has been marked as Defense Exhibit A

                19          for identification only.

                20          Q     Now, Officer Thomas, directing your attention to that

                21   photo, do you recognize this photo?

                22          A     I recognize the person in the photo, but he's wearing

                23   different clothes.

                24          Q     Was this photo taken on December 29th of 2012?

                25          A     Yes.


                                                                              si




                                                   [ A41 ]
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                             P.O. Remel Thomas - Cross - Narumanchi


                1       •     Was it taken at the 75th Precinct?

                2       A     Yes.

                3       •     And what do you recognize this photo Lo be?

                4       A     A photo of the defendant dressed in different clothes.

                5       Q     Is it an arrest photograph?

                6       A     Yes.

                7       ▪     And when arrest photographs are taken, they are taken

                 a   at the police precinct after arrests; right?

                9       A      Yes.

                10      •     And typically, the arresting officer is present during

                11   that photograph being taken?

                12      A     Not always.

                13       Q     Not always.   But typically there?

                14      A      Yes.

                15       Q     And does it fairly and accurately represent how

                16   Mr. Alexander appeared on December 29th of 2012?

                17      A      Mr. Alexander was wearing multiple clothes that he

                18   could have exchanged.

                19      •      Other than the colors of the clothing, does it fairly

                20   and accurately represent how Mr. Alexander appeared on

                21   December 29th of 2012?

                22      A      It's Mr. Alexander but in different clothes.

                23       Q     I understand that.   Does it fairly -- outside of the

                24   colors of the clothing, does it fairly and accurately represent

                25   how he appeared on December 29th of 2012?

                                                                         si




                                               [ A42 ]
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                             P.O. Remel Thomas - Cross - Narumanchi


                1       A      Yes.

                2                     MS. NARUMANCHI:    At this time, Judge, I would

                 3      like to move this into evidence.

                4                     THE COURT:    Voir dire?

                5                     MS. ROSENFELD:    First the People would like to

                6        note their objection.      Yes, a quick voir dire.

                7                     THE COURT:    Usually it's the other way around, I

                8        would think.

                 9   VOIR DIRE EXAMINATION

                10   BY MS. ROSENFELD:

                11      Q      Officer, what was the defendant wearing at the time

                12   that you saw him on the street?

                13                    THE COURT:    Sustained.

                14      Q      Officer, do you recall what the defendant was wearing

                15   when you first saw him?

                16      A      Yes.

                17      Q      What was he wearing?

                18                    THE COURT:    Sustained.   It's going to the

                19       admissibility of the photograph, not what the defendant was

                20       wearing.     He already said that he changed his clothes.

                21       Q     So, Officer, this photo, is it representing what the

                22   defendant was wearing at the time you first saw him on the

                23   street?

                24       A     No.

                25       Q     So it does not fairly and accurately represent what he

                                                                              si




                                                   [ A43 ]
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                                           Side bar


                1    looked like at the time you first saw him?

                2       A    No

                3                  MS. ROSENFELD:     The People note their objection.

                4                  THE COURT.,    Side bar.

                5                  (The following occurs at side bar out of the

                6        presence of the jury.)

                7                  THE COURT:     Okay.    I would just like an offer of

                8        proof as to what the relevance of the photograph is.

                9                  MS. EARUMANCHI,        Judge, it's relevant to the

                10       theory of the defense that we have already said in our

                11       opening it's mistaken identification, and Mr. Alexander was

                12       not the individual who robbed Ms. Veras, that his clothing

                13       was substantially different than the description of the

                14       perpetrator, and that's why it's relevant to this case.

                15       It's very key to the defense case.

                16                 THE COURT:     Both witnesses, this officer and

                17       Villafane, indicated this is a picture of the defendant

                18       who's on trial but he's changed his clothes.        So they

                19       already indicated that's the facial features, that's the

                20       man, but the outer garments that he has on, to wit, just

                21       the jacket and the scarf are different because he still has

                22       the jeans on.

                23                 MR. HUGHES      I'm sorry to interrupt --

                24                 THE COURT:     Only the attorney that's -- I'll give

                25       you as much time as you want to, but I don't see how it's


                                                                             si




                                                 [ A44 ]
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                                        Side bar


                1     relevant if both witnesses indicated this wasn't the

                2     clothing he was wearing.

                3                MS. NARUMANCHI:    Well, Judge, but it was a

                4     photo --

                5                THE COURT:    Are you going to bring in testimony

                      to establish this was the clothes he was wearing at the

                7     time of the offense?

                8                MS. NARUMANCHI:    Well, I mean they are going to

                 9    deny that that was the clothing that he was wearing at the

                10    time of the offense.

                11               THE COURT:    So far three witnesses have

                12    testified --

                13               MS. NARUMANCHI:    I understand.

                14               THE COURT:    -- that he had a yellow hoodie and a

                15    blue vest with jeans.     This shows the person dressed in a I

                16    guess a bubble jacket with a scarf at the precinct.

                17               MS. NARUMANCHI:    It's a gray hoodie.    This was a

                18    photo taken of him at the precinct while he was under the

                19    control of the officers.     And I could continue to question

                20    on that, but --

                21               THE COURT:    What's the relevance?

                22               MS. NARUMANCHI:    It's relevant to the

                23    identification, Judge.     We're arguing it's not him, that

                24    he's not the perpetrator, and that they are wrong.        They

                25    arrested an African American man wearing similar clothing.

                                                                          si




                                              [ A45 ]
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                                           Side bar


                1       think that that is actually relevant Co the question on

                2       those colors and whether or not he could have actually

                3       changed his clothing in the precinct.     He was escorted

                4       directly from the site to the precinct.     He was in their

                5       custody the entire time, so I think it does go to our

                6       defense.

                7                  But additionally, in terms of the police officers

                 a      and questioning on that, it also goes to a motive to lie

                 9      about a variety of different issues in this case.

                10                 THE COURT:    Okay.   Your application is denied.

                11      It's not coming into evidence.      I believe you haven't

                12      sufficiently established how it's probative.      Maybe if your

                13      client wants to take the stand, he could testify as to how

                14      he looked and if these were his clothes.      But so far three

                15      witnesses, three separate witnesses all indicated at the

                16      scene of the arrest the clothing he had worn, and two of

                17      them looked at this piece of evidence and said that's him,

                18      but his clothing has been changed.

                19                 Okay.   So I find this to be not reliable and is

                20      not to your point.      If there is some kind of sponsoring

                21      testimony that this was the clothing that he was wearing

                22      and they arrested the wrong guy, and these three witnesses

                23      were under some mass delusion, I'll let it come in.

                24                 (Back in open court.)

                25   CROSS EXAMINATION - CONTINUED




                                                [ A46 ]
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                             P.O. Remel Thomas - Cross - Narumanchi


                 1   BY MS. NARUMANCHI:

                 2       Q       Now, Officer Thomas, we were discussing the fact chat

                 3   Officer Jordan is the arresting officer in this case.

                4                Now, you were with Officer Jordan when. Mr. Alexander

                 5   was arrested; correct?

                6       A        Yes.

                 7      Q     And you along with Officer Jordan escorted him to the

                 a   precinct?

                9       A        Yes.

                10      Q     And at the precinct he was processed for an arrest?

                11      A        Yes.

                12      Q     And we had just discussed as part of that processing,

                13   photos were taken; correct?

                14      A        Yes.

                15      Q     Now, typically -- he didn't have any visitors at the

                16   precinct; did he?

                17      A     No.

                18      Q     And did you voucher any of the clothing that he was

                19   wearing that day?

                20      A     No.

                21      Q     And I had just shown you a photograph for

                22   identification.     You said that the colors of the clothing were

                23   different; correct?

                24      A        Yes.

                25      Q        You maintain a memo book as part of your duties as a


                                                                          Si




                                                 [ A47 ]
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                                                  24a

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                             P.O. Remel Thomas - Cross - Narumanchi


                1    police officer?

                2        A     Yes.

                3        Q    And the photo that I showed you was taken that day, on

                 4   December 29th of 2012?

                5        A     Yes.

                6        Q    And it was taken at your precinct, the 75th

                7    Precinct?

                8        A     Yee.

                9        Q    Now, part of writing notes in your memo book is you

                10   notate things that happened while you are on duty; right?

                11       A     Yes.

                12      •     And that day you noted down a description of a

                13   perpetrator in the robbery?

                14       A       Yee.

                15       Q       And you noted in your memo book that he was wearing a

                16   yellow hoodie?

                17       A     Yes.

                18       Q    And a blue vest?

                19       A       Yes.

                20       Q       Now, you didn't note that he was wearing different

                21   clothing at the precinct?

                22       A       No.

                23       4       You didn't note that the colors of the ski vest were

                24   different than the description that you received?

                25       A       No.




                                                [ A48 ]
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                         P.O. Remel Thomas - Cross - Narumanchi


                1               THE COURT:    Next witness.

                2               MR. RASKIN:    Your Honor, the People are calling

                3     Police Officer Kevin Hutchinson.

                4               COURT OFFICER:     Witness entering.

                5               THE COURT:    Very well.

                6               COURT OFFICER:    Remain standing.     Face the clerk.

                7               THE CLERK:    Please raise your right hand.

                 a              KEVIN   HUTCHINSON, was called as a witness by and

                 9    on behalf of the People, having been first duly sworn by

                10    the Clerk of the Court, testified as follows:

                11              THE CLERK:    Be seated.    Please state your name

                12    and spell it for the record.

                13              THE WITNESS:     Officer Kevin Hutchinson,

                14    K-E-V.I-N, H-U-T-C-H-I-N-S-0-N.

                15              THE CLERK:    Shield number?

                16              THE WITNESS:    Shield 18979.

                17              THE CLERK:    And command?

                18              THE WITNESS:     Brooklyn North Evidence Collection

                19    Team.

                20              THE CLERK:    Thank you.

                21              THE COURT:     Thank you.   How are you doing?

                22              THE WITNESS:     How are you doing, sir?

                23              THE COURT:     Welcome to my courtroom.    I ask you

                24    to do three things, speak right into the microphone, look

                25    the jury in the eye when you answer, and if you hear the

                                                                         Si




                                             [ A49 ]
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                             P.O. Remel Thomas - Cross - Narumanchi


                1        word "objection", say no.

                2                     THE WITNESS:   You got it.

                 3                    THE COURT:    Thank you.

                4    DIRECT EXAMINATION

                5    BY MR. RASKIN;

                6       Q     By whom are you employed?

                7       A     New York City Police Department.

                         Q     In what capacity?

                 9       A     Police Officer.

                10      •      How many years have you been a police officer?

                11       A    Twelve years now.

                12       Q     How many years have you been assigned to ECT?

                13       A     Six years.

                14       Q     Just describe to the jury what ECT stands for.

                15       A     It stands for Evidence Collection Team.

                16       Q    As an officer assigned to the Evidence Collection

                17   Team, what are your duties and responsibilities?

                18       A     Basically we go to crime scenes and try to collect any

                19   evidence that's left at the scene.

                20       Q       What kind of cases do you become involved in in that

                21   capacity?

                22       A     Become involved in burglaries, robberies, shootings

                23   that are non-fatal, and gun cases.

                24       Q     And what do you do specifically when you become

                25   involved in those type of cases?

                                                                          si




                                                   [ A50 ]
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                                                   27a

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                             P.O. Kevin Hutchinson - Direct - Raskin


                1        A     Well, we go through the scene and we try to process

                 2   whatever is at the scene.

                 3       Q     I'm going to direct your attention to December 29,

                4    2012.   Did you become involved in an investigation into an

                5    incident that occurred on Chestnut Street in Brooklyn?

                6       A      Yes.

                7       Q      How did you become involved in that?

                 8      A      We had a call saying that there was a robbery with a

                9    gun that was recovered at the location.

                10      Q      What exactly did you do with respect to that

                11   investigation?

                12      A      Well, I responded to the 75th Precinct where the gun

                13   was brought back to, and I processed the firearm there.

                14       Q     Just describe to the jury what you did in the

                15   processing of that firearm?

                16      A      Well, I swabbed the firearm for DNA.    Basically, we

                17   have like a long Q-tip, we put distilled water on the tip of

                18   the cotton swab, and we swab the area of the firearm that was

                19   touched the most.

                20       Q     Why would you swab a firearm?

                21       A     Just to see who was handling the firearm.

                22       Q     You mentioned DNA.   Were there any other reasons why

                23   you would swab a firearm?

                24       A     Any other reason?

                25       Q     Yes.

                                                                           si




                                               [ A51 ]
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                                                   28a

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                              P.O. Kevin Hutchinson - Direct - Raskin


                         A      Like I say, just to find out who touched the firearm.

                 2        Q     Did you also swab to get a fingerprint?

                 3                   MR. HUGHES:    Objection, Your Honor, to the

                 4       leading.

                 5                   THE COURT:    Overruled.   I could allow a little

                 6       bit of latitude.

                 7       A      We dust the firearm for fingerprints.

                          Q     In this case, where exactly did you respond to?

                 9       A      The 75th Precinct.

                10              And once you arrived at the 75th Precinct, what were

                11    you given?

                12       A      I was given a black Kel-Tec .9-millimeter o stol.

                13        Q     What did you do once you received that gun?

                14       A      I began processing, I began swabbing the different

                15    parts of the firearm for DNA.

                16       Q      Just describe to the jury how you processed that

                17    particular gun?

                ].8      A      There are certain parts of the firearm that are

                19    touched the most times, like the trigger, trigger guard, the

                20    handle of the firearm, and also the slide grip on top of the

                21    firearm, so I take a separate swab for each item and I swab

                22    those particular items, try to recover DNA from them.

                23       Q      Officer, what did you do with those swabs once you

                24    finished swabbing that firearm?

                25       A      i vouchered it.




                                                  [ A52 ]
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                             P.O. Kevin Hutchinson - Direct - Raskin


                1       Q      What voucher number did you voucher those swabs?

                 2      A      Voucher number 3000162090.

                 3      Q      What did you do with the property after it was

                 4   vouchered under voucher number 3000162090?

                5       A      I sent it to the OCHE for DNA analysis.   OCME stands

                6    for Office of the Chief Medical Examiner.

                7       Q      For what purposes were the swabs sent there?

                 8      A      For DNA analysis.

                        Q      From your observations of the gun with your own eyes,

                10   would you be able to tell if there was any DNA on the gun?

                11      A      No, sir.

                12      Q      Did you do anything else with the gun at that point?

                13      A      After that I dusted the firearm for fingerprints.

                14      Q      How did you dust that gun for fingerprints?

                15       A     I use a feather duster and dipped it in some white

                16   powder and I applied the powder over the entire firearm.

                17      Q      Were you able to lift any fingerprints from that gun?

                18      A      No, sir.

                19      Q      What are some reasons why fingerprints from a person

                20   who just touched the gun may not be on that gun?

                21       A     Well, sometimes the firearm could be wiped clean, and

                22   also some firearms are made where they will not rust so water

                23   can't penetrate.     So fingerprints are mostly water so a

                24   fingerprint won't adhere to the firearm.     It could also be

                25   because of the weather.     Sunlight and heat will evaporate any

                                                                          si




                                                [ A53 ]
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                                                   30a

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                             P,O. Kevin Hutchinson - Direct - Raskin


                1    secretions left on a firearm.      Cold weather would prevent a

                2    person from perspiring too often, so you won't be able to

                 3   fingerprint a firearm because of that.     And also if it is

                4    raining, items left out in the rain, it could wash away the

                5    prints also.

                6                    MR. RASKIN:    Thank you, Officer.   No further

                7        questions, Your Honor.

                 a                   MR. HUGHES:    Thank you, Your Honor.   Your Honor,

                9        is it all right if I cross from the defense table?

                10                   THE COURT:    Go right ahead.

                11   CROSS EXAMINATION

                12   SY MR. HUGHES:

                13      Q      Good afternoon, Officer Hutchinson.

                14      A      How are you doing, sir?

                15       4     I'm well, thank you.

                16             Now, you were just talking about fingerprinting the

                17   gun and some reasons why you might not be able to get

                18   fingerprints.

                19             Now, prior to dusting the gun for fingerprints, you

                20   had applied a moistened Q-tip, basically, to three parts of the

                21   gun; right?

                22       A     Correct.

                23       4     That was to the trigger and the trigger guard?

                24      A      Correct.

                25      Q      And that was to the back strap and the grips?

                                                                             si




                                                  [ A54 ]
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                                                     31a

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                                P.O. Kevin Hutchinson - Cross - Hughes


                1        A       Right, the handles of the firearm.

                2        Q       And the slide?

                 3       A       Correct.

                4        Q       And that might be a reason, applying a moistened Q-tip

                5    might be a reason to rub off some --

                6       A        For those parts of the firearm, correct.

                7        Q       And you've been trained to swab those three areas;

                     right?

                9        A        Yes, sir.

                10      •        And you are trained that those areas are potentially

                11   good areas for collecting skin cells that have been rubbed off;

                12   right?

                13       A       Correct.

                14       Q       And then those skin cells could be analyzed at the

                15   lab?

                16       A       Yes.

                17      •         And on the trigger, trigger guard, you could get skin

                18   cells potentially from someone whose got their index finger on

                19   that area of the gun; right?

                20          A     Yes.

                21       Q        Either when they are firing it or when they are just

                22   holding it?

                23       A        Just holding it.

                24       Q        Now, part of your job in processing a firearm is to

                25   question about elimination samples; correct?

                                                                            si




                                                  [ A55 ]
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                                                    32a

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                               P.O. Kevin Hutchinson - Cross - Hughes


                 1       A      Correct.

                 2       Q      And that sample would be a Q-tip as well put in the

                 3    cheek of someone who may have touched the evidence; right?

                 4        A      Correct.

                 5       Q      And in order to determine who needs to give an

                 6    elimination sample, you need to find out who may have touched

                 7    the gun; right?

                 8        A      Correct.

                 9        Q      And you are also trained that DNA can actually

                1-0   transfer from one item to another; right?

                11        A      Correct.

                12        Q      For example, from a glove of a gun, if someone touches

                13    their face before touching the gun with their gloved hand;

                14    right?

                15        A      Yes, sir.

                16               And DNA can be transferred by someone who was touching

                17    the outside of their gloves as they were putting them on, if

                18    they were -- or in another way before they touched the item?

                19                    MR. RASKIN:   Objection, Your Honor.

                20                    THE COURT:    Sustained.

                21        Q      So one of the things that you do when you are trying

                22    to find out who to request elimination samples from is to find

                23    out any NYPD officers who actually recovered the evidence at

                24    the crime scene wherever the gun was recovered; right?

                25        A      Correct.




                                                   [ A56 ]
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                                         Side bar


                      recovery of the gun?

                2                MS. ROSENFELD:    I don't recall off the top of my

                3     head.   I would have to go out and get my grand jury

                4     minutes.

                5                THE COURT:    Let me see it.

                6                These minutes were turned over to you, the grand

                 7    jury minutes?

                8                MR. HUGHES:    Yes.

                                 THE COURT:    What's in there about her?

                10               MR. HUGHES:    I think my recollection is she

                11    recovered the gun.

                12               MS. NARUMANCHI:       That was my recollection, too.

                13               THE COURT:    So she testified in the grand jury

                14    that she was the recovering officer.

                15               MR. HUGHES:    Correct.

                16               THE COURT:    This guy here testified that he was

                17    the recovering officer.

                18               MR. HUGHES:    Yes, you mean Thomas.

                19               MS. NARUMANCHI:       Yes.

                20               MR. HUGHES:    Correct.

                21               THE COURT:    Well, it was a full statement she

                22    allegedly gave this ETC guy.

                23               MR. HUGHES:    Is that he recovered the gun on the

                24    sidewalk at the corner of Fulton and Pennsylvania.

                25               THE COURT:    I'll let it in.     Let's go.

                                                                          Si




                                              [ A57 ]
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                                             Side bar


                1                     MR. HUGHES:    Full statement?   I'll give the full

                2       statement or that she recovered the gun?

                3                 THE COURT:        Give the statement she gave him, but

                4        I'm giving a curative instruction for the purpose of the

                5       submission.

                6                     MR. HUGHES:   Okay.

                 7                    (Hack in open court.)

                8    CROSS EXAMINATION - CONTINUED

                9    BY MR. HUGHES:

                10      Q    So to repeat, Officer Hutchinson, Police Officer

                11   Lisette Jordan told you that she had recovered the gun on the

                12   sidewalk at the corner of Fulton and Pennsylvania?

                13      A    Correct.

                14                    THE COURT:    Ladies and gentlemen, that's

                15       basically a hearsay statement, what one person said to

                16       another person outside of court.      And the only reason I'll

                17       let it in is not for the truth of what was said but to

                18      explain what the officer did once hearing that information.

                19      Q    And you testified earlier you conferred with Police

                20   Officer Jordan, and I believe you also conferred with Sergeant

                21   Ephraim Hernandez on this case?

                22       A    That was my sergeant.

                23       Q   And so based on that, you requested DNA elimination

                24   samples; right?

                25       A    I asked Officer Jordan for an elimination sample.


                                                                             si




                                                   [ A58 ]
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                             P.O. Kevin Hutchinson - Cross - Hughes


                1        Q     And did you receive an elimination sample from Officer

                2    Jordan?

                3       A      No, I did not.

                4        Q     Are officers allowed to decline providing an

                5    elimination sample?

                6       A      They have declined, yes.

                 7       Q     Is that what Police Officer Jordan did in this case?

                8       A      Yes.

                9        Q     And you did not request elimination DNA samples from

                10   any other officer in this case; right?

                11      A      No, I did not.

                12                    MR. HUGHES     May I have a moment, Your Honor?

                13                    THE COURT:    Sure.

                14                    MR. HUGHES:    Nothing further, Your   onor.   Thank

                15       you, Officer Hutchinson.

                16                    THE COURT:    Okay.   Any redirect?

                17                    MR. RASKIN     Yes, Your Honor.

                18                    THE COURT:    Go right ahead.

                19   REDIRECT EXAMINATION

                20   BY MR. RASKIN:

                21       Q     Officer Hutchinson, you mentioned skin cells.         Is that

                22   something that's tested with a DNA swab that's sent to the

                23   OCME?

                24       A     Yes.

                25       Q     And would the same effects in terms of whether the


                                                                             si




                                                    [ A59 ]
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                             P.O. Kevin Hutchinson - Redirect - Raskin


                1    ability or inability to shed affect the ability to get skin

                2    cell samples from a gun as it would with fingerprints?

                 3                     MR. HUGHES:    Objection to the opinion testimony.

                 4                     THE COURT:    Overruled.

                5        A      Yes.

                6                      MR. RASKIN:    No further questions, Your Honor.

                7                      THE COURT:    Recross?

                                       MR. HUGHES:    None.   Thank you.

                9                      Thank you.

                10                     (Witness excused.)

                11                     THE COURT:    Ladies and gentlemen, unfortunately

                12       we are going to have to have to call it an early day today.

                13       The next scheduled witness through no fault of anyone is

                14       unable to be here.         But I was assured that they would be

                15       here bright and early tomorrow.          I would anticipate that

                16      this case may be in your hands tomorrow or the latest by

                17       Wednesday.      So we are moving.

                18                     So keep an open mind, don't form or express any

                19       opinions or conclusions with respect to the evidence until

                20       this case is submitted to you for your deliberations.

                21       Don't discuss this case amongst yourselves or with anyone

                22       else.    Don't view or visit any place or premise involved in

                23       the case.      Don't read, listen or view any media reports

                24       about the case.      Don't surf the internet regarding this

                25       case.    Accept nothing of value for information about the

                                                                               ei




                                                    [ A60 ]
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                1     trial.     If anyone intends to talk about the case, don't do

                 2    it.

                 3                Have a great night.     And let's root for those

                 4    Jets to get a good draft pick this year.       And we will see

                5     everybody back here tomorrow at 10:00.

                6                 COURT OFFICER:    Jurors.

                7                 (Whereupon, the jury exits the courtroom.)

                8                 THE COURT:   Okay.    I had requested the district

                9     attorney at the side bar to notify this Officer Jordan to

                10    be here available tomorrow, but the officer should be

                11    advised that if she's going to claim the Fifth Amendment,

                12    I'm going to allow no questioning regarding any pending

                13    cases that she has before her.

                14                That being said, does the defense plan on calling

                15    her?

                16                MS. NARUMANCHI:      Judge, we are actually still

                17    discussing the issue and would like to consult with my

                18    supervisors back at the office.

                19                THE COURT:   I understand that, but this case has

                20    been pending for a considerable period of time, and you are

                21    aware of the allegations that are pending against this

                22    officer.    And as a litigator, one would always plan that

                23    your adversary is going to call that witness or try to make

                24    their case without them.      As experienced attorneys, you

                25    would have planned it ahead of time.        In realizing the


                                                                          si




                                               [ A61 ]
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                1     rules of evidence, that if you consciously know a person is

                2     going to claim the Fifth Amendment, you can't ask the

                3     question.    So I would not allow you -- I don't think any

                4     Judge would allow you to call a witness to impeach your own

                5     witness.    I just don't think that's done.      So you knew that

                6     ahead of time.

                7                 So this woman got a pending case.      She's being

                8     prosecuted.    I can order her in here, but if you are not

                9     going to use it, why bother?        Why just go through all of

                10    that grief, put her through the grief?        Her attorney is

                11    going to get notified.     Everybody is going to be running

                12    around like chicken without heads.        And 99 percent of the

                13    time you are not even going to call her any way.

                14                MR. HUGHES:    Can we discuss this issue with

                15    Mr. Alexander?

                16                THE COURT:    Sure.

                17                MR. HUGHES:    Thank you, very much.    And we

                18    appreciate the Court's intervention in helping --

                19                THE COURT:    I understand.    Calling the witness or

                20    not is solely within the power of the attorney.

                21                (Pause in the proceedings.)

                22                THE COURT:    Did you have enough time to consult

                23    with your client?

                24                MS. NARUMANCHI:       Judge, we did speak with our

                25    client, and we would like Officer Jordan to be made


                                                                           si




                                               [ A62 ]
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                1     available.     We will be putting her on as a witness on our

                2     direct case.

                3                 MS. ROSENFELD:    Your Honor, two pieces of note

                4     with respect.    First we have some phone numbers that

                5     defense could call about getting that officer made present

                6     tomorrow, if they want to follow up with that.       We will put

                 7    a notification in through the system as well just so she

                      knows she's being called as a defense witness.       We have a

                9     number we can give them.

                10                THE COURT:    I asked Mr. Raskin to advise that she

                11    was coming in as a defense witness.

                12                MS. ROSENFELD:    Yes, I'm just saying we have a

                13    phone number they can contact as well to notify her to come

                14    in.     We will put it through our system as well, but there's

                15    no guarantee that through the system she will get a

                16    notification in time, so I have numbers they can call tor

                17    that.

                18                However, I also wanted to follow-up with respect

                19    to what her testimony is going to be, in how limited it

                20    should be, because I actually just went through the

                21    testimony from the hearing where Officer Jordan testified

                22    and testified that in fact Officer Thomas was the one who

                23    recovered the gun.       That's what she responded when. I asked

                24    her the direct question.       And when defense attorney,

                25    Mr. Kleiman, at the time, and Clinton Hughes was also

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                                               [ A63 ]
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                1     present for that, went back to on redirect, "so you

                2     testified that Officer Thomas is the one who recovered the

                3     gun?"   Her answer was, again, yes.

                4               THE COURT:     I was unaware of that.     It's very

                5     difficult to be in e position to make a decision when I am

                6     not fully apprized of all of the facts and nuances of the

                 7    case.   I was not the Judge at the hearing.       I was faced

                8     with a situation where this officer testified that he

                9     recovered the gun.   I was supplied the grand jury minutes

                10    wherein the grand jury minutes the female officer said she

                11    recovered the gun.      I think it was we or was it we or she?

                12    I think it was we.

                13               MS. ROSENFELD:     I'll double check so that I don't

                14    speak    properly on the record.

                15               The question was, "did you recover the black

                16    object that you had seen him throw to the floor?"

                17              Answer:    Yes.

                18               THE COURT:    Pine.   That's what I was showed

                19    during the conference, side bar conference.        So based upon

                20    that, not wanting to have the jury misled by what I

                21    perceived to be incorrect testimony of this officer, I

                22    allowed in the statement of Officer Jordan to in effect

                23    impeaching this officer even though they are told it's not

                24    entered for the truth of the matter stated.        It's very

                25    difficult to un-ring the bell.     And jurors many times don't

                                                                          si




                                              [ A64 ]
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                1     understand.

                2                 So that being the case, now I find that the

                3     defense was aware that Officer Jordan when she testified

                4     under oath at a hearing admitted that her testimony in the

                5     grand jury was incorrect, and that her partner Thomas was

                6     in fact the person who recovered the firearm as he

                7     testified before me.    So why, what are you going to --

                8     first, I'm somewhat chagrined that the defense did not

                9     bring this to my attention since the defense was present at

                10    the hearing, I wasn't, and it was misleading the Court by

                11    not advising me that this officer had stated at a prior

                12    hearing that the officer who testified here, Thomas, did in

                13    fact recover the gun.    That's one.

                14                I'm also a little bit chagrined by the

                15    prosecution not bringing that to my attention because I

                16    would not have allowed that prior statement to come into

                17    evidence.     I'm attempting to give a fair trial to both

                18    sides and not have this jury misled, but I find them being

                19    misled by the attorneys.      Probably not, I don't know why,

                20    but I'm just getting that opinion.

                21                Now knowing the fact that this officer is not

                22    supportive of your case, what is your offer of proof to

                23    have her called?

                24                MS. NARUMANCHI:    Well, Judge, we are asking that

                25    she be called so that we can put the mugshot photo into

                                                                        si




                                             [ A65 ]
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                 1    evidence.

                 2                THE COURT:     I already ruled that the mugshot

                 3    evidence, mugshot photo, as it stands, irrelevant.

                 4                MR. HUGHES:     Judge, you are looking at a photo

                 5    where a man is wearing a hoodie and a ski vest of a

                      different color.

                 7                THE   COURT:   That's not a ski vest that he had on

                      that day, that's a full length parker.          Let me see that

                      photo again.

                10                MS. NARUMANCHI:    It's a ski vest.      You could see

                11    the gray sleeves through the ski vest.

                12                THE COURT:     Right you are.     It's a full length

                1.3   ski vest.    That would open the door for the People on

                14    rebuttal to bring in testimony as to every person that was

                15    arrested in that precinct, that was housed in the bullpen,

                16    the clothing that that person had.          It's a trial within a

                17    trial.   You still haven't convinced me of any testimony

                18    from anywhere that that was the clothing your client had on

                19    at the time of the crime.       It's clearly the clothing he had

                20    on at the time that photograph was taken, but not what he

                21    allegedly wore at the time of the incident.          How is that

                22    relevant?    I mean there's been no proof that he didn't have

                23    an opportunity to change clothes with someone else.

                24                MR. HUGHES:     It would be nice if the arresting

                25    officer could weigh in on it; couldn't she?          She was the


                                                                            si




                                                 [ A66 ]
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                 1    one who had custody of the defendant.

                2                THE COURT:    I'm not speculating on what this

                 3    officer could or couldn't testify to.     Because you're

                4     aware, as I am, that once an arrest is made, the arresting

                 5    officer places the defendant after paperwork in the

                 6    bullpen, and there could be countless numbers of other

                 7    people.   There's no testimony that he was placed in a

                 S    solitary cell in the PD squad.     It's speculative.   I don't

                      see it.

                10               MR. HUGHES:    It's speculative that he changed

                11    clothes, Judge, and it's speculative that the officer was

                12    not able to observe him.

                13              THE COURT:     I tend to disagree with you because

                14    each witness indicated that that was the man that they saw

                15    out on the street, all three of them, and the three

                16    witnesses identified your client as the person that was on

                17    the street in distinctive clothing, and two of them saw

                15    that photograph, both identified physically your client and

                19    both stated that wasn't the clothes he was wearing at the

                20    time they saw him on the street.     That's the only thing

                21    that's not speculative right now.

                22              MR. HUGHES:     That theory is that they

                23    misremembered that.     And the physical evidence that they

                24    misremembered that is a guy giving his arrest photo taken

                25    with a hoodie and a ski vest after he's being apprehended

                                                                       si




                                              [ A67 ]
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                1     and in the custody of the police that have different

                2     colors.   It's misidentification.   That's our defense.

                3               THE COURT:    What do you have to say?

                4               MS. ROSENFELD:    The People just would go with

                5     what the Court has already said, that you've had three

                6     people take the stand and state that at the time of the

                7     crime the defendant was wearing -- was a black man wearing

                8     a blue vest and a bright yellow hoodie.    Two of the

                 9    witnesses took the stand and identified the defendant in

                10    court as the same person they saw wearing a yellow hoodie

                11    and a blue vest.    And also two witnesses who were shown

                12    this photograph said, yes, that is absolutely the

                13    defendant, that is not what he was wearing at the time that

                14    the crime took place.

                15               So I believe putting this photograph in front of

                16    the jury is completely misleading.    If they have already

                17    put forth their theory that there was a second person

                18    there -- in their opening that there was a second person

                19    who committed this robbery that was also on a bike, and if

                20    they want to prove that, that's fine, but to say this is

                21    not the wrong -- since they have already said this is the

                22    guy who committed the robbery but this isn't what he was

                23    wearing at the time, that doesn't go to the fact there was

                24    a second person there.

                25               THE COURT:    The defense isn't limited to what

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                                              [ A68 ]
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                1     they stated on an opening.      The People by statute must

                2     establish all the elements of what they intend to prove in

                3     the opening.    The defense doesn't.

                4                 MS. ROSENFELD:   I recognize that, Your Honor, but

                 5    the defense keeps arguing that they have already opened on

                6     this issue --

                 7                THE COURT:   That's their problem.

                8                 MS. ROSENFELD,   -- of mistaken identity.

                9                 THE COURT:   That's their problem on what they

                10    opened on or didn't.     That doesn't affect the rules of

                11    evidence.    I'm just going now on the rules of evidence,

                12    that two people identified that that is a photograph of the

                13    defendant but those weren't the clothes he was wearing.

                14    How is that not the functional equivalent of a photograph

                15    of the crime scene that's taken afterwards where movable

                16    objects have changed, like cars, trees on leaves, but the

                17    physical stature of the buildings are the same.        Here the

                18    physical face of the defendant is the same.

                19                MS. ROSENFELD:   So both witnesses were shown the

                20    photos, that this was not a fair and accurate

                21    representation of what the defendant looked like at the

                22    time that the robbery took place.

                23                THE COURT:   They said as to clothing but they did

                24    say that was the defendant.

                25                MS. ROSENFELD:   They did say that was the


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                                               [ A69 ]
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                 1    defendant.     So if they want to redact the photos so it's

                 2    just of his face, then the People would have no objection

                3     to it going into evidence.        But as to the clothing, the

                4     People would object.

                5                  THE COURT:    If this arresting officer took the

                6     stand tomorrow, how would you propose getting this past

                7     these evidentiary issues?

                8                  MS. MARUMANCHI:    Well, Judge, I would ask her if

                 9    it represented a fair and accurate description of what he

                10    looked like at the time the photo was taken.        I'm not going

                11    to ask -- obviously she's going to contradict that that's

                12    what he looked like at the scene, but I would ask if that's

                13    what he looked like in the precinct, and I could limit my

                14    questioning to that.

                15                 MR. HUGHES:    Judge, we are asking -- we are

                16    going -- I'm sorry to be a two-headed beast here, but we

                      are going to be arguing to the jury at the end of the day

                18    that these people were misremembering that point, that

                19    critical point.     It was called in, yellow and blue, they

                20    thought they got the guy, looking at the face, they got the

                21    guy, they processed the guy, the guy is still wearing the

                22    hoodie and the vest, they take the picture, and then, you

                23    know, then they start going through a process of preparing

                24    for trial --

                25                 THE COURT:    Hold for a minute.




                                                 [ A70 ]
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                1                 (Pause in the proceedings.)

                2                 MR. HUGHES:    Judge, that's going to be our

                3     theory, that they misremembered.      They thought they got the

                4     face.   They weren't thinking about vests and hoodies and

                 5    everything else, they thought they got the guy.        And then

                6     when the litigation begins and witnesses are prompted and

                 7    complaints and 085's and arrest reports are reviewed, and

                8     lawyers talk to witnesses, and witnesses talk to lawyers,

                9     at some point there is a misremembering.

                10                THE COURT:    So your argument is that the clothing

                11    that's depicted in this photograph is the same clothing

                12    that your client got arrested in?

                13                MR. HUGHES:    And that they were mistaken.    That

                14    is our argument, Your Honor.

                15                THE COURT:    Will they be precluded from bringing

                16    in officers to testify that on numerous occasions

                17    defendants switch clothing prior to the photograph, or have

                18    an opportunity to do so?

                19                MS. NARUMANCHI:    I mean if that's their cross

                20    examination, I think they are entitled to ask that

                21    question.

                22                THE COURT:    Which one is speaking for the team?

                23                MS. NARUMANCHI:    We would like to operate as

                24    Siamese twins, Judge, but I will speak for the team.

                25                MR. HUGHES:    I must say I've never disagreed with


                                                                        si




                                                [ A71 ]
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                1     anything Ms. Narumanchi said.

                2              THE COURT:     Good.

                3              MR. HUGHES:    Only desire to add a point or two.

                4              MS. ROSENFELD:     Your Honor, the defense has

                5     themselves just said that they would expect Officer Jordan

                6     to take the stand and say that this was not the clothing

                7     that he was wearing at the scene, and that would just

                8     testify this was the picture --

                9               MS. NARUMANCHI:       At the time of arrest in the

                10    precinct, that's the question I would be asking.

                11              MS. ROSENFELD:    Again, that is irrelevant to what

                12    he was wearing at the time of the robbery and when he was

                13    stopped by the police officers.       What he may or may not

                14    have changed into at the time this photograph was taken is

                15    irrelevant.

                16              MR. HUGHES:    Judge, to make a ruling against this

                17    would defectively credit in advance all the testimony as to

                18    the color of the hoodie and the ski vest.       We ask that the

                19    Court let that be in the domain of the jury.       The

                20    prosecution can argue whatever it wants or it can raise

                21    issues as long as they are proper in the cross examination

                22    of Officer Jordan, if you want to call it cross

                23    examination, because I don't think she's going to be

                24    hostile to the prosecution here, but that's our theory.

                25              THE COURT:    Is she being prosecuted for an


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                                             [ A72 ]
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                 1    Assault 3?

                2               MS. ROSENFELD:       Yes.

                3               THE COURT:       By your office?

                4               MS. ROSENFELD:       No, I believe it's Manhattan.

                5               MS. NARUMANCHI:       It's in Manhattan.    The case is

                6     on December 9th in Manhattan Criminal Court.

                7               Obviously, Judge, we would not ask her about that

                8     as per your ruling on that issue.         If it's more than two

                 9    minutes of direct examination, I will be surprised.

                10              THE COURT:       She's going to come in and testify

                11    that that's a picture of the defendant, but that's not the

                12    clothes he had on when she arrested him.

                13                 MS. NARUMANCHI:    Yes.

                14                 MR. HUGHES:    Don't know.    We don't know yet, but

                15    we know that obviously he was wearing a hoodie and he was

                16    wearing a ski vest when he was arrested.         He's wearing a

                17    hoodie and a ski vest when they take the picture.          So I

                18    guess it's more of an issue of color than anything else,

                19    Judge.   So the question is are the witnesses misremembering

                20    the color, particularly the civilian witnesses, but also

                21    the police witnesses at this point.          But I think it's an

                22    issue of fundamental fairness that the arrest photo come

                23    in.   It's not a crazy application.        This is something where

                24    the defendant was in police custody.

                25                 Is the 75th Precinct a big changing room where

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                                             [ A73 ]
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                1     they just allow all the defendants to switch each others'

                2     clothes?   Maybe they can bring a witness in to say that,

                3     but I thought of it as a precinct where they took reports,

                4     perform general law enforcement duties and process arrests.

                5                THE COURT:    Well, experienced defendants many

                6     times attempt to alter their physical appearance after they

                 7    have been in custody, changing hairstyles, growing hair,

                 a    switching clothes in the precinct.    I've had clients that

                9     have done that when I was on the defense, and I had

                10    defendants when I prosecuted did that when I was a

                11    prosecutor, and I'm sure it happens all the time.     Maybe I

                12    just have more of a background than you do.

                33               MR. HUGHES:    I don't now what to say, Judge.

                14    think that the fact that there's a description in the type

                15    of clothing, and then there's a picture where the precise

                16    type of clothing again but with radically different colors

                17    should give -- should be presented to the jury and let them

                18    decide.

                19               THE COURT:    You're also going to be precluded

                20    from phrasing any question regarding any injury that your

                      client is alleged to have suffered after he was transported

                22    from the crime scene.     And no comment about that in the

                23    photo, no comment about that if it comes into evidence

                24    during your summation.

                25               MS. NARUMANCHI:    No comment during summation.

                                                                       si




                                               [ A74 ]
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                1               THE COURT:    Right.    Because it's not relevant.    I

                2     haven't decided on the photo, so I will reserve decision

                3     until tomorrow.   Roth sides should prepare either way.

                4               MR. HUGHES:    Thank you, Your Honor.

                5               THE COURT:    Okay.    10:00.

                6               (The trial was adjourned to December 2, 2014 at

                7     10:00 a.m.)

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